Case 5:10-cr-00230-SMH-MLH         Document 86         Filed 12/07/10   Page 1 of 4 PageID #:
                                         152



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES                                    CRIM. NO. 10-0230-05

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 ANTONIO DEMETRIOUS FURLOW                        MAGISTRATE JUDGE HORNSBY

 _____________________________________________________________________

                                 MEMORANDUM ORDER

        Before the Court is a Motion to Sever filed by Antonio Demetrious Furlow (“Furlow”).

 See Record Document 83. For the reasons set forth below, Furlow’s motion is DENIED.

        Furlow contends that the government has only charged him with one count–

 conspiracy to possess powder cocaine with intent to distribute–in an eight count indictment.

 He argues that “[g]iven the abundance of evidence against Furlow’s co-defendants, which,

 on information and belief, includes hundreds of phone calls and hundreds, if not

 thousands, of photographs (many, if not most, of which would be inadmissible in a trial

 involving only Furlow), Furlow will be prejudiced unless his motion to sever is granted.”

 [Record Document 83].       Further, “[c]ounsel for Furlow believes there is potential

 exculpatory evidence from a co-defendant or co-defendants that will not be available if the

 co-defendant or co-defendants assert their Fifth Amendment rights at trial.” Id.

        Federal Rule of Criminal Procedure 8(b) provides that when multiple defendants are

 alleged to have participated in the same act or transaction, they may be charged together

 in the same indictment. The propriety of joinder will often be assessed by looking to the

 allegations contained in the indictment. See United States v. Chagra, 754 F.2d 1186, 1188


                                         Page 1 of 4
Case 5:10-cr-00230-SMH-MLH         Document 86         Filed 12/07/10   Page 2 of 4 PageID #:
                                         153



 (5th Cir.1985). Moreover, “[t]here is a preference in the federal system for joint trials of

 defendants who are indicted together,” particularly when a conspiracy charge is involved.

 Zafiro v. United States, 506 U.S. 534, 537, 113 S.Ct. 933, 937, 122 L.Ed.2d 317 (1993);

 United States v. Neal, 27 F.3d 1035, 1045 (5th Cir.1994). Joinder of defendants charged

 with conspiracy may be proper even when some of the conspirators participated only in

 some aspects of the scheme. See United States v. Lindell, 881 F.2d 1313, 1318 (5th

 Cir.1989).

        Federal Rule of Criminal Procedure 14(a) provides:

               If the joinder of offenses or defendants in an indictment, an
               information, or a consolidation for trial appears to prejudice a
               defendant or the government, the court may order separate
               trials of counts, sever the defendants' trials, or provide any
               other relief that justice requires.


 In order to obtain a Rule 14 severance, the defendant must make a showing of specific and

 “compelling prejudice.” United States v. Richards, 204 F.3d 177, 193 (5th Cir.2000),

 overruled on other grounds by United States v. Longoria, 298 F.3d 367, 372 & n. 6 (5th

 Cir.2002); United States v. Coppola, 788 F.2d 303, 307 (5th Cir.1986).

        The government correctly notes, in its response, that the Fifth Circuit recognizes a

 strong presumption that “persons indicted together should be tried together, especially in

 a conspiracy case.” United States v. Rodriguez, 553 F.3d 380, 394 (5th Cir. 2008) (internal

 citations omitted). Here the indictment states that “the defendants . . . did knowingly and

 intentionally conspire and agree together to distribute and to possess with the intent to

 distribute five (5) kilograms or more of a mixture and substance containing a detectable

 amount of cocaine hydrochloride, also known as powder cocaine, a Schedule II controlled


                                         Page 2 of 4
Case 5:10-cr-00230-SMH-MLH           Document 86         Filed 12/07/10   Page 3 of 4 PageID #:
                                           154



 substance.” [Record Document 8]. Furlow's charge and the charges against his

 co-defendants all allege participation in this conspiracy, therefore it is appropriate to try the

 defendants together. Furthermore, the possibility that evidence against a co-defendant

 may “spill over” onto the defendant is insufficient to demonstrate compelling prejudice,

 particularly when the court gives limiting instructions. See United States v. Henthron, 815

 F.2d 304, 308 (5th Cir.1987).

        In addition, Furlow argues that exculpatory evidence will not be available because

 his co-defendants may “assert their Fifth Amendment rights at trial.” [Record Document

 83]. “Specifically, Furlow believes that JeCarlos Montrae Carter and Tenisha DeShea

 Carter, his [“]common law[”] brother-in-law and sister-in-law, respectively, would testify, if

 they were not part of Furlow’s trail, that Furlow did not buy or sell cocaine from, with, or to

 them and did not conspire to buy or sell cocaine from, with, or to them.” Id. Under these

 circumstances, severance might be granted to protect the Sixth Amendment right to

 compulsory process, which is considered a special trial right. United States v. Barnett, 197

 F.3d 138, 145 (5th Cir.1999) (“Nor was severance required so that the testimony of a

 coconspirator could be compelled without violating the coconspirator's fifth amendment

 rights.”). To prevail on his claim that a separate trial is necessary to obtain exculpatory

 evidence, Furlow must show: “(1) a bona fide need for the testimony; (2) the substance

 of the testimony; (3) its exculpatory nature and effect; [and] (4) that the co-defendant would

 in fact testify if severance were granted.” United States v. Villarreal, 963 F.2d 725, 732 (5th

 Cir.1992). Under that test, without an affidavit from the co-defendant himself or other

 similar proof, “conclusory allegation[s]” that a co-defendant would testify and what he or

 she would testify about is not sufficient. See United States v. Sparks, 2 F.3d 574, 583 &

                                           Page 3 of 4
Case 5:10-cr-00230-SMH-MLH         Document 86         Filed 12/07/10   Page 4 of 4 PageID #:
                                         155



 n. 10 (5th Cir.1993) (listing precedent); United States v. Neal, 27 F.3d 1035, 1047 (5th

 Cir.1994). The Fifth Circuit has often repeated that “[r]epresentations by the defendant’s

 attorney are not sufficient.” United States v. Nguyen, 493 F.3d 613, 625 (5th Cir. 2007)

 (internal citations omitted). Furlow has provided this Court with no affidavits from his co-

 defendants as to the content of their supposed testimony. Therefore;

         IT IS ORDERED that Furlow's Motion to Sever (Record Document 83) be and is

 hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 7th day of December,

 2010.




                                         Page 4 of 4
